           Case CO.
                21-53015-wlh
                    FILE   DEPT.  Doc
                                   CLOCK23
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                                               NO.  06/07/21 Entered 06/07/21 11:32:31 Desc Main
                                                    036
                MZ9 001351 000600        0000060040
                                             Document  1    Page 1Earnings
                                                                  of 4        Statement
                SUNRISE      DETOX ALPHARETTA,              LLA                     Period Beginning:              01/24/2021
                2328 10TH AVE N, SUITE 301                                          Period Ending:                 02/06/2021
                LAKE WORTH, FL 33461                                                Pay Date:                      02/12/2021



                                                                                        CATHERINE ROBERTSON SANDERS
                Filing Status: Single/Married filing separately                         5229 BYERS ROAD
                Exemptions/Allowances:
                                                                                        JOHNS CREEK GA 30022
                    Federal: Standard Withholding Table




                         rate        hours        this period       year to date    Other Benefits and
Regular            17 0300          79 72          1 357 63            3 401   23                                        this period   total to date
Overtime           25 5450           1 43             36 53              286   61   Max Elig/Comp                        1 394 16         4 369 04
Holiday                                                                  136   24   Pto                                     20 50
P T O                                                                    544   96   VJ1                                      3 38
               Gross Pay                         $1 394 16             4 369   04
                                                                                    BASIS OF PAY: HOURLY
               Statutory
               Social Security Tax                    -79 99             251   54
                                                                                     Taxable Marital Status:
               Medicare Tax                           -18 71              58   83     GA:             Single
               GA State Income Tax                    -51 40             164   93    Exemptions/Allowances:
               Federal Income Tax                                         10   94     GA:             2



               Dental                                 -12   87*           38   61
               Medical                                -49   59*          148   77
               Medical FSA                            -38   46*          115   38
               Vision                                  -3   06*            9   18

               Net Pay                           $1 140 08
               Checking 1                          -400 00
               Savings 1                           -740 08
               Net Check                                $0 00


                 Excluded from federal taxable wages

                 Your federal taxable wages this period are
                 $1 290 18

                                                                                                                                         2000 A DP, LLC




                SUNRISE DETOX ALPHARETTA                      LLA                   Advice number:                       00000060040
                2328 10TH AVE N SUITE 301                                           Pay date:                            02/12/2021
                LAKE WORTH FL 33461



                Deposited       to the account of                                   account number             transit     ABA                amount
                CATHERINE         ROBERTSON        SANDERS                          xxxxx3795                  xxxx xxxx                     $400 00
                                                                                    xxxxxxxxx5616              xxxx xxxx                     $740 08




                                                                                                NON-NEGOTIABLE
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                MZ9 001351 000600        0000080037
                                             Document  1    Page 2Earnings
                                                                  of 4        Statement
                SUNRISE      DETOX ALPHARETTA,              LLA                     Period Beginning:              02/07/2021
                2328 10TH AVE N, SUITE 301                                          Period Ending:                 02/20/2021
                LAKE WORTH, FL 33461                                                Pay Date:                      02/26/2021



                                                                                        CATHERINE ROBERTSON SANDERS
                Filing Status: Single/Married filing separately                         5229 BYERS ROAD
                Exemptions/Allowances:
                                                                                        JOHNS CREEK GA 30022
                    Federal: Standard Withholding Table




                         rate        hours        this period       year to date    Other Benefits and
Regular            17 0300          73 75          1 255 96            4 657   19                                        this period   total to date
Overtime           25 5450           2 73             69 74              356   35   Max Elig/Comp                        1 325 70         5 694 74
Holiday                                                                  136   24   Pto                                     23 88
P T O                                                                    544   96   VJ1                                      3 38
               Gross Pay                         $1 325 70             5 694   74
                                                                                    BASIS OF PAY: HOURLY
               Statutory
               Social Security Tax                    -75 75             327   29
                                                                                     Taxable Marital Status:
               Medicare Tax                           -17 71              76   54     GA:             Single
               GA State Income Tax                    -47 46             212   39    Exemptions/Allowances:
               Federal Income Tax                                         10   94     GA:             2



               Dental                                 -12   87*           51   48
               Medical                                -49   59*          198   36
               Medical FSA                            -38   46*          153   84
               Vision                                  -3   06*           12   24

               Net Pay                           $1 080 80
               Checking 1                          -400 00
               Savings 1                           -680 80
               Net Check                                $0 00


                 Excluded from federal taxable wages

                 Your federal taxable wages this period are
                 $1 221 72

                                                                                                                                         2000 A DP, LLC




                SUNRISE DETOX ALPHARETTA                      LLA                   Advice number:                       00000080037
                2328 10TH AVE N SUITE 301                                           Pay date:                            02/26/2021
                LAKE WORTH FL 33461



                Deposited       to the account of                                   account number             transit     ABA                amount
                CATHERINE         ROBERTSON        SANDERS                          xxxxx3795                  xxxx xxxx                     $400 00
                                                                                    xxxxxxxxx5616              xxxx xxxx                     $680 80




                                                                                                NON-NEGOTIABLE
           Case CO.
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                MZ9 001351 000600        0000100043
                                             Document  1    Page 3Earnings
                                                                  of 4        Statement
                SUNRISE      DETOX ALPHARETTA,              LLA                     Period Beginning:              02/21/2021
                2328 10TH AVE N, SUITE 301                                          Period Ending:                 03/06/2021
                LAKE WORTH, FL 33461                                                Pay Date:                      03/12/2021



                                                                                        CATHERINE ROBERTSON SANDERS
                Filing Status: Single/Married filing separately                         5229 BYERS ROAD
                Exemptions/Allowances:
                                                                                        JOHNS CREEK GA 30022
                    Federal: Standard Withholding Table




                         rate        hours        this period       year to date    Other Benefits and
Regular            17 0300          79 75          1 358 14            6 015   33                                        this period   total to date
Overtime           25 5450             30              7 66              364   01   Max Elig/Comp                        1 365 80         7 060 54
Holiday                                                                  136   24   Pto                                     27 26
P T O                                                                    544   96   VJ1                                      3 38
               Gross Pay                         $1 365 80             7 060   54
                                                                                    BASIS OF PAY: HOURLY
               Statutory
               Social Security Tax                    -78 23             405   52
                                                                                     Taxable Marital Status:
               Medicare Tax                           -18 30              94   84     GA:             Single
               GA State Income Tax                    -49 77             262   16    Exemptions/Allowances:
               Federal Income Tax                                         10   94     GA:             2



               Dental                                 -12   87*           64   35
               Medical                                -49   59*          247   95
               Medical FSA                            -38   46*          192   30
               Vision                                  -3   06*           15   30

               Net Pay                           $1 115 52
               Checking 1                          -500 00
               Savings 1                           -615 52
               Net Check                                $0 00


                 Excluded from federal taxable wages

                 Your federal taxable wages this period are
                 $1 261 82

                                                                                                                                         2000 A DP, LLC




                SUNRISE DETOX ALPHARETTA                      LLA                   Advice number:                       00000100043
                2328 10TH AVE N SUITE 301                                           Pay date:                            03/12/2021
                LAKE WORTH FL 33461



                Deposited       to the account of                                   account number             transit     ABA                amount
                CATHERINE         ROBERTSON        SANDERS                          xxxxx3795                  xxxx xxxx                     $500 00
                                                                                    xxxxxxxxx5616              xxxx xxxx                     $615 52




                                                                                                NON-NEGOTIABLE
            Case CO.
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                 MZ9 001351 000600        0000120039
                                              Document  1    Page 4Earnings
                                                                   of 4        Statement
                 SUNRISE      DETOX ALPHARETTA,              LLA                     Period Beginning:              03/07/2021
                 2328 10TH AVE N, SUITE 301                                          Period Ending:                 03/20/2021
                 LAKE WORTH, FL 33461                                                Pay Date:                      03/26/2021



                                                                                         CATHERINE ROBERTSON SANDERS
                 Filing Status: Single/Married filing separately                         5229 BYERS ROAD
                 Exemptions/Allowances:
                                                                                         JOHNS CREEK GA 30022
                     Federal: Standard Withholding Table




                          rate        hours        this period       year to date
Regular             17 0300          78 65          1 339 41            7 354   74
                                                                                       Your federal taxable wages this period are
Overtime            25 5450           3 33             85 06              449   07
                                                                                       $1 327 64
Paid Meal           17 0300             42              7 15                7   15
Holiday                                                                   136   24   Other Benefits and
P T O                                                                     544   96                                        this period   total to date
                Gross Pay                         $1 431 62             8 492   16   Max Elig/Comp                        1 431 62         8 492 16
                                                                                     Pto                                     30 64
                                                                                     VJ1                                      3 38
                Statutory
                Social Security Tax                    -82 31             487   83
                Medicare Tax                           -19 25             114   09   BASIS OF PAY: HOURLY
                GA State Income Tax                    -53 55             315   71
                Federal Income Tax                                         10   94
                                                                                      Taxable Marital Status:
                                                                                       GA:             Single
                                                                                      Exemptions/Allowances:
                Dental                                 -12   87*           77   22     GA:             2
                Medical                                -49   59*          297   54
                Medical FSA                            -38   46*          230   76
                Vision                                  -3   06*           18   36

                Net Pay                           $1 172 53
                Checking 1                          -500 00
                Savings 1                           -672 53
                Net Check                                $0 00


                  Excluded from federal taxable wages




                                                                                                                                          2000 A DP, LLC




                 SUNRISE DETOX ALPHARETTA                      LLA                   Advice number:                       00000120039
                 2328 10TH AVE N SUITE 301                                           Pay date:                            03/26/2021
                 LAKE WORTH FL 33461



                 Deposited       to the account of                                   account number             transit     ABA                amount
                 CATHERINE         ROBERTSON        SANDERS                          xxxxx3795                  xxxx xxxx                     $500 00
                                                                                     xxxxxxxxx5616              xxxx xxxx                     $672 53




                                                                                                 NON-NEGOTIABLE
